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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA §

 v.        §          No.        4:22CR                           )
                                          § Judge
 MALANDO BATES §

                                      INDICTMENT

    THE UNITED STATES GRAND JURY CHARGES:                                    APR 1 3 2022
                                                                          Clerk, U.S. District Court
                                        Count One

                                                         Violation: 18 U.S.C. § 922(g)(1)
                                                         (Possession of a Firearm by a
                                                         Convicted Felon)

        On or about October 24, 2021, in the Eastern District of Texas, MALANDO

BATES, defendant, did knowingly and unlawfully possess in and affecting interstate or

foreign commerce, a firearm, to wit Glock, Model 22, .40 caliber pistol, bearing serial

number DUA211, while knowing that he had been convicted of a crime punishable by

imprisonment for a term exceeding one year.



    In violation of Title 18 U.S.C. § 922(g)(1).

             NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
               (Pursuant to 18 U.S.C. § 924(d)(1) by 28 U.S.C. § USC 2461(c)

        As a result of the commission of the foregoing offense charged in this Indictment,

the defendant shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d)(1) by 28

U.S.C. § 2461(c), any firearm or ammunition involved in a violation of 18 U.S.C. §

922(g)(1), namely, the following:


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        a. a Glock, Model 22, .40 caliber pistol, bearing serial number DUA211; an

        b. Any ammunition related to the case.




                                             A TRUE BILL



                                             GRAND JURY FOREPERSON

BRIT FEATHERSTON
UNITED STATES ATTORNEY




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA §

 v.        §       No.4:22CR
                                          § Judge VtoWf
 MALANDO BATES §

                                 NOTICE OF PENALTY

                                         Count One

Violation: 18 U.S.C. § 922(g)(1)

Penalty: Imprisonment of not more than ten (10) years, a fine not to exceed
             $250,000 or twice the pecuniary gain to the defendant or loss to the victim,
             or both; and a term of supervised release of not more than three (3) years.

               If the Court determines that the defendant is an Armed Career Offender
               under 18 U.S.C. 924(e), imprisonment of not less than 15 years and not
               more than life, a fine not to exceed $250,000 or twice the pecuniary gain to
               the defendant or loss to the victim, or both; and a term of supervised release
               of not more than five (5) years.

Special Assessment: $ 100.00




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Malando Bates
